                      Case 2:12-cr-00221-MHT-CWB Document 620 Filed 07/08/14 Page 1 of 6
AO 245B         (Rev. 09/11) Judgment in a Criminal Case
v1              6KHHW



                                            81,7('67$7(6',675,&7&2857
                                                           MIDDLE DISTRICT OF ALABAMA

               81,7('67$7(62)$0(5,&$                                              JUDGMENT IN A CRIMINAL CASE
                                    v.
                         WILLIAM ELLIOTT                                             &DVH1XPEHU 2:12cr221-02-MHT
                                                                                     8601XPEHU 14436-002

                                                                                      Aimee Cobb Smith
                                                                                     'HIHQGDQW¶V$WWRUQH\
THE DEFENDANT:
✔SOHDGHGJXLOW\WRFRXQW V
G                                        One of the Superseding Indictment on September 16, 2013
G SOHDGHGQRORFRQWHQGHUHWRFRXQW V
     ZKLFKZDVDFFHSWHGE\WKHFRXUW
G ZDVIRXQGJXLOW\RQFRXQW V
     DIWHUDSOHDRIQRWJXLOW\

7KHGHIHQGDQWLVDGMXGLFDWHGJXLOW\RIWKHVHRIIHQVHV

Title & Section                     Nature of Offense                                                                        Offense Ended                           Count

 21 USC 846                          Conspiracy: Distribute Controlled Substance                                                3/21/2013                             1s

                                         (Methamphetamine)




     See additional count(s) on page 2


      7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHV 2 WKURXJK 6             RIWKLVMXGJPHQW The sentence is impRVHGSXUVXDQWWo the
6HQWHQFLQJ5HIRUP$FWRI
G 7KHGHIHQGDQWKDVEHHQIRXQGQRWJXLOW\RQFRXQW V
✔&RXQW V
G                1, 6s, 25s-27s of Indictments               G LV   ✔DUHdismiVVHGRQWKHPRWLRQRIWKH8QLWHG6WDWHV
                                                                    G
         ,WLVRUGHUHGWKDWWKHGHIHQGDQWPXVWQRWLI\WKH8QLWHG6WDWHVDWWRUQH\IRUWKLVGLVWULFWZLWKLQGD\VRIDQ\FKDQJHRIQDmeUHVLGHQFH
RUPDLOLQJDGGUHVVXQWLODOOILQHVUHVWLWXWLRQFRVWVDQGVSHFLDODVVHVVPHQWVLPSRVHGE\WKLVMXGJPHQWDUHIXOO\SDLG If RUGHUHGWRSD\UHVWLWXWLRQ
                                                                                                                            
WKHGHIHQGDQWPXVWQRWLI\WKHFRXUWDQG8QLWHG6WDWHVDWWRUQH\RIPDWHULDOFKDQJHVLQHFRQRPLFFLUFXPVWDQFHV

                                                                          June 27, 2014
                                                                           'DWHRI,PSRVLWLRQRI-XGJPHQW



                                                                           /s/ Myron H. Thompson
                                                                          Signature of Judge


                                                                          MYRON H. THOMPSON, U.S. DISTRICT JUDGE
                                                                           1DPHRI-XGJH7LWOHRI-XGJH


                                                                          July 8, 2014
                                                                           'DWH
                       Case 2:12-cr-00221-MHT-CWB Document 620 Filed 07/08/14 Page 2 of 6
AO 245B         (Rev. 09/11) Judgment in a Criminal Case
v1             6KHHW²,PSULVRQPHQW

                                                                                                                        Judgment Page: 2 of 6
     '()(1'$17 WILLIAM ELLIOTT
     &$6(180%(5 2:12cr221-02-MHT


                                                                    IMPRISONMENT

              7KHGHIHQGDQWLVKHUHE\FRPPLWWHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV%XUHDXRI3ULVRQVWREHLPSULVRQHGIRUD
     WRWDOWHUPRI
      57 Months.




         ✔
         G 7KHFRXUWPDNHVWKHIROORZLQJUHFRPPHQGDWLRQVWRWKH%XUHDXRI3ULVRQV
     The court recommends that the defendant be designated to a facility where intensive drug treatment is available.



         ✔ 7KHGHIHQGDQWLVUHPDQGHGWRWKHFXVWRG\RIWKH8QLWHG6WDWHV0DUVKDO
         G

         G 7KHGHIHQGDQWVKDOOVXUUHQGHUWRWKH8QLWHG6WDWHV0DUVKDOIRUWKLVGLVWULFW
             G DW                                          G DP      G SP        RQ

             G DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO

         G 7KHGHIHQGDQWVKDOOVXUUHQGHUIRUVHUYLFHRIVHQWHQFHDWWKHLQVWLWXWLRQGHVLJQDWHGE\WKH%XUHDXRI3ULVRQV
             G EHIRUHRQ                                        

             G DVQRWLILHGE\WKH8QLWHG6WDWHV0DUVKDO
             G DVQRWLILHGE\WKH3UREDWLRQRU3UHWULDO6HUYLFHV2IILFH


                                                                          RETURN
     ,KDYHH[HFXWHGWKLVMXGJPHQWDVIROORZV




             'HIHQGDQWGHOLYHUHGRQ                                                              WR

     D                                                      ZLWKDFHUWLILHGFRS\RIWKLVMXGJPHQW



                                                                                                            81,7('67$7(60$56+$/


                                                                                  %\
                                                                                                         '(387<81,7('67$7(60$56+$/
                            Case 2:12-cr-00221-MHT-CWB Document 620 Filed 07/08/14 Page 3 of 6
AO 245B             (Rev. 09/11) Judgment in a Criminal Case
v1              6KHHW²6XSHUYLVHG5HOHDVH

                                                                                                                                                                                Judgment Page: 3 of 6
                                                                                                                                                          
 '()(1'$17 WILLIAM ELLIOTT
 &$6(180%(5 2:12cr221-02-MHT
                                                                               SUPERVISED RELEASE
 8SRQUHOHDVHIURPLPSULVRQPHQWWKHGHIHQGDQWVKDOOEHRQVXSHUYLVHGUHOHDVHIRUDWHUPRI
 5 Years.


         7KHGHIHQGDQWPXVWUHSRUWWRWKHSUREDWLRQRIILFHLQWKHGLVWULFWWRZKLFKWKHGHIHQGDQWLVUHOHDVHGZLWKLQKRXUVRIUHOHDVHIURPWKH
 FXVWRG\RIWKH%XUHDXRI3ULVRQV
 7KHGHIHQGDQWVKDOOQRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH
 7KHGHIHQGDQWVKDOOQRWXQODZIXOO\SRVVHVVDFRQWUROOHGVXEVWDQFH7KHGHIHQGDQWVKDOOUHIUDLQIURPDQ\XQODZIXOXVHRIDFRQWUROOHG
              
 VXEVWDQFH7KHGHIHQGDQWVKDOOVXEPLWWRRQHGUXJWHVWZLWKLQGD\VRIUHOHDVHIURPLPSULVRQPHQWDQGDWOHDVWWZRSHULRGLFGUXJWHVWV
 WKHUHDIWHUDVGHWHUPLQHGE\WKHFRXUW
 G 7KHDERYHGUXJWHVWLQJFRQGLWLRQLVVXVSHQGHGEDVHGRQWKHFRXUW¶VGHWHUPLQDWLRQWKDWWKHGHIHQGDQWSRVHVDORZULVNRI
          IXWXUHVXEVWDQFHDEXVH(Check, if applicable.)
 ✔ 7KHGHIHQGDQWVKDOOQRWSRVVHVVDILUHDUPDPPXQLWLRQGHVWUXFWLYHGHYLFHRUDQ\RWKHUGDQJHURXVZHDSRQ(Check, if applicable.)
 G
 ✔ 7KHGHIHQGDQWVKDOOFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHU(Check, if applicable.)
 G

 G 7KHGHIHQGDQWVKDOOFRPSO\ZLWKWKHUHTXLUHPHQWVRIWKH6H[2IIHQGHU5HJLVWUDWLRQDQG1RWLILFDWLRQ$FW      86&et seq
   DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKH%XUHDXRI3ULVRQVRUDQ\VWDWHVH[RIIHQGHUUHJLVWUDWLRQDJHQF\LQZKLFKKHRUVKHUHVLGHV
          ZRUNVLVDVWXGHQWRUZDVFRQYLFWHGRIDTXDOLI\LQJRIIHQVH(Check, if applicable.)

 G 7KHGHIHQGDQWVKDOOSDUWLFLSDWHLQDQDSSURYHGSURJUDPIRUGRPHVWLFYLROHQFH(Check, if applicable.)
         ,IWKLVMXGJPHQWLPSRVHVDILQHRUUHVWLWXWLRQLWLVDFRQGLWLRQRIVXSHUYLVHGUHOHDVHWKDWWKHGHIHQGDQWSD\LQDFFRUGDQFHZLWKWKH
 6FKHGXOHRI3D\PHQWVVKHHWRIWKLVMXGJPHQW
          7KHGHIHQGDQWPXVWFRPSO\ZLWKWKHVWDQGDUGFRQGLWLRQVWKDWKDYHEHHQDGRSWHGE\WKLVFRXUWDVZHOODVZLWKDQ\DGGLWLRQDO
                                                                                                                                         FRQGLWLRQV
                                                                                                                                            
 RQWKHDWWDFKHGSDJH

                                                       STANDARD CONDITIONS OF SUPERVISION
           WKHGHIHQGDQWVKDOOQRWOHDYHWKHMXGLFLDOGLVWULFWZLWKRXWWKHSHUPLVVLRQRIWKHFRXUWRUSUREDWLRQRIILFHU
           WKHGHIHQGDQWVKDOOUHSRUWWRWKHSUREDWLRQRIILFHULQDPDQQHUDQGIUHTXHQF\GLUHFWHGE\WKHFRXUWRUSUREDWLRQRIILFHU
           WKHGHIHQGDQWVKDOODQVZHUWUXWKIXOO\DOOLQTXLULHVE\WKHSUREDWLRQRIILFHUDQGIROORZWKHLQVWUXFWLRQVRIWKHSUREDWLRQRIILFHU
           WKHGHIHQGDQWVKDOOVXSSRUWKLVRUKHUGHSHQGHQWVDQGPHHWRWKHUIDPLO\UHVSRQVLELOLWLHV
           WKHGHIHQGDQWVKDOOZRUNUHJXODUO\DWDODZIXORFFXSDWLRQXQOHVVH[FXVHGE\WKHSUREDWLRQRIILFHUIRUVFKRROLQJWUDLQLQJRURWKHU
            DFFHSWDEOHUHDVRQV
           WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUDWOHDVWWHQGD\VSULRUWRDQ\FKDQJHLQUHVLGHQFHRUHPSOR\PHQW
           WKHGHIHQGDQWVKDOOUHIUDLQIURPH[FHVVLYHXVHRIDOFRKRODQGVKDOOQRWSXUFKDVHSRVVHVVXVHGLVWULEXWHRUDGPLQLVWHUDQ\
            FRQWUROOHGVXEVWDQFHRUDQ\SDUDSKHUQDOLDUHODWHGWRDQ\FRQWUROOHGVXEVWDQFHVH[FHSWDVSUHVFULEHGE\DSK\VLFLDQ
           WKHGHIHQGDQWVKDOOQRWIUHTXHQWSODFHVZKHUHFRQWUROOHGVXEVWDQFHVDUHLOOHJDOO\VROGXVHGGLVWULEXWHGRUDGPLQLVWHUHG
           WKHGHIHQGDQWVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQVHQJDJHGLQFULPLQDODFWLYLW\DQGVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQFRQYLFWHGRID
            IHORQ\XQOHVVJUDQWHGSHUPLVVLRQWRGRVRE\WKHSUREDWLRQRIILFHU
          WKHGHIHQGDQWVKDOOSHUPLWDSUREDWLRQRIILFHUWRYLVLWKLPRUKHUDWDQ\WLPHDWKRPHRUHOVHZKHUHDQGVKDOOSHUPLWFRQILVFDWLRQRIDQ\
            FRQWUDEDQGREVHUYHGLQSODLQYLHZRIWKHSUREDWLRQRIILFHU
          WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUZLWKLQVHYHQW\WZRKRXUVRIEHLQJDUUHVWHGRUTXHVWLRQHGE\DODZHQIRUFHPHQWRIILFHU
          WKHGHIHQGDQWVKDOOQRWHQWHULQWRDQ\DJUHHPHQWWRDFWDVDQLQIRUPHURU DVSHFLDODJHQWRIDODZHQIRUFHPQWDJHQF\ZLWKRXWWKH
            SHUPLVVLRQRIWKHFRXUWDQG

          DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKHGHIHQGDQWVKDOOQRWLI\WKLUGSDUWLHVRIULVNVWKDWPD\EHRFFDVLRQHGE\WKHGHIHQGDQW¶VFULPLQDO
            UHFRUGRUSHUVRQDOKLVWRU\RUFKDUDFWHULVWLFVDQGVKDOOSHUPLWWK HSUREDWLRQRIILFHUWRPDNHVXFKQRWLILFDWLRQVDQGWRFRQILUP WKH
            GHIHQGDQW¶VFRPSOLDQFHZLWKVXFKQRWLILFDWLRQUHTXLUHPHQW
                     Case 2:12-cr-00221-MHT-CWB Document 620 Filed 07/08/14 Page 4 of 6
AO 245B        (Rev. 09/11) Judgment in a Criminal Case
v1            6KHHW&²6XSHUYLVHG5HOHDVH

                                                                                                         Judgment Page: 4 of 6
 '()(1'$17 WILLIAM ELLIOTT
 &$6(180%(5 2:12cr221-02-MHT

                                            SPECIAL CONDITIONS OF SUPERVISION
     1. The defendant shall participate in a program approved by the United States Probation Office for substance abuse, which
     may include testing to determine whether he has reverted to the use of drugs. The defendant shall contribute to the cost of
     any treatment based on his ability to pay and the availability of third-party payments.

     2. The defendant shall submit to a search of his person, residence, office and vehicle pursuant to the search policy of this
     court.
                    Case 2:12-cr-00221-MHT-CWB Document 620 Filed 07/08/14 Page 5 of 6
AO 245B        (Rev. 09/11) Judgment in a Criminal Case
v1          6KHHW²&ULPLQDO0RQHWDU\3HQDOWLHV

                                                                                                                    Judgment Page: 5 of 6
 '()(1'$17 WILLIAM ELLIOTT
 &$6(180%(5 2:12cr221-02-MHT
                                                 CRIMINAL MONETARY PENALTIES
      7KHGHIHQGDQWPXVWSD\WKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVXQGHUWKHVFKHGXOHRISD\PHQWVRQ6KHHW

                        Assessment                                         Fine                                    Restitution
 TOTALS             $ 100.00                                           $                                     $ $0.00


 G7KHGHWHUPLQDWLRQRIUHVWLWXWLRQLVGHIHUUHGXQWLO$QAmended Judgment in a Criminal Case (AO 245C) ZLOOEHHQWHUHG
     DIWHUVXFKGHWHUPLQDWLRQ

 G 7KHGHIHQGDQWPXVWPDNHUHVWLWXWLRQ LQFOXGLQJFRPPXQLW\UHVWLWXWLRQ WRWKHIROORZLQJSD\HHVLQWKHDPRXQWOLVWHGEHORZ
     ,IWKHGHIHQGDQWPDNHVDSDUWLDOSD\PHQWHDFKSD\HHVKDOOUHFHLYHDQDSSUR[LPDWHO\SURSRUWLRQHGSD\PHQWXQOHVVVSHFLILHGRWKHUZLVHLQ
     WKHSULRULW\RUGHURUSHUFHQWDJHSD\PHQWFROXPQEHORZ+RZHYHUSXUVXDQWWR86& L DOOQRQIHGHUDOYLFWLPVPXVWEHSDLG
     EHIRUHWKH8QLWHG6WDWHVLVSDLG

 Name of Payee                                                     Total Loss*                Restitution Ordered            Priority or Percentage




                                                                              




TOTALS                                                                                $0.00                          $0.00


G     5HVWLWXWLRQDPRXQWRUGHUHGSXUVXDQWWRSOHDDJUHHPHQW

G     7KHGHIHQGDQWPXVWSD\LQWHUHVWRQUHVWLWXWLRQDQGDILQHRIPRUHWKDQXQOHVVWKHUHVWLWXWLRQRUILQHLVSDLGLQIXOOEHIRUHWKH
      ILIWHHQWKGD\DIWHUWKHGDWHRIWKHMXGJPHQWSXUVXDQWWR86& I $OORIWKHSD\PHQWRSWLRQVRQ6KHHWPD\EHVXEMHFW
      WRSHQDOWLHVIRUGHOLQTXHQF\DQGGHIDXOWSXUVXDQWWR86& J 

G     7KHFRXUWGHWHUPLQHGWKDWWKHGHIHQGDQWGRHVQRWKDYHWKHDELOLW\WRSD\LQWHUHVWDQGLWLVRUGHUHGWKDW

      G WKHLQWHUHVWUHTXLUHPHQWLVZDLYHGIRUWKH            G ILQH       G UHVWLWXWLRQ
      G WKHLQWHUHVWUHTXLUHPHQWIRUWKH            G ILQH    G UHVWLWXWLRQLVPRGLILHGDVIROORZV


 )LQGLQJVIRUWKHWRWDODPRXQWRIORVVHVDUHUHTXLUHGXQGHU&KDSWHUV$$DQG$RI7LWOHIRU
                                                                                                                 RIIHQVHVFRPPLWWHGRQRUDIWHU
6HSWHPEHUEXWEHIRUH$SULO
                    Case 2:12-cr-00221-MHT-CWB Document 620 Filed 07/08/14 Page 6 of 6
AO 245B       (Rev. 09/11) Judgment in a Criminal Case
v1          6KHHW²6FKHGXOHRI3D\PHQWV

                                                                                                                             Judgment Page: 6 of 6
 '()(1'$17 WILLIAM ELLIOTT
 &$6(180%(5 2:12cr221-02-MHT

                                                         SCHEDULE OF PAYMENTS

 +DYLQJDVVHVVHGWKHGHIHQGDQW¶VDELOLW\WRSD\SD\PHQWRIWKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVLVGXHDVIROORZV

 A    ✔ /XPSVXPSD\PHQWRI 100.00
      G                                                          GXHLPPHGLDWHO\EDODQFHGXH

           G      QRWODWHUWKDQ                                      RU
           G      LQDFFRUGDQFH           G &       G '        G      (RU     G )EHORZRU
 B    G 3D\PHQWWREHJLQLPPHGLDWHO\ PD\EHFRPELQHGZLWK                     G &       G 'RU       G )EHORZ RU
 C    G 3D\PHQWLQHTXDO                              (e.g., weekly, monthly, quarterly) LQVWDOOPHQWVRI                            RYHUDSHULRGRI
                            (e.g., months or years)WRFRPPHQFH                       (e.g., 30 or 60 days)DIWHUWKHGDWHRIWKLVMXGJPHQWRU

 D    G 3D\PHQWLQHTXDO                              (e.g., weekly, monthly, quarterly)LQVWDOOPHQWVRI                         RYHUDSHULRGRI
                            (e.g., months or years)WRFRPPHQFH                       (e.g., 30 or 60 days)DIWHUUHOHDVHIURPLPSULVRQPHQWWRD
           WHUPRIVXSHUYLVLRQRU

 E    G 3D\PHQWGXULQJWKHWHUPRIVXSHUYLVHGUHOHDVHZLOOFRPPHQFHZLWKLQ                    (e.g., 30 or 60 days)DIWHUUHOHDVHIURP
           LPSULVRQPHQW7KHFRXUWZLOOVHWWKHSD\PHQWSODQEDVHGRQDQDVVHVVPHQWRIWKHGHIHQGDQW¶VDELOLW\WRSD\DWWKDWWLPHRU

 F    ✔ 6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV
      G
            All criminal monetary payments are to be made to the Clerk, United States District Court, Middle District of Alabama, Post
            Office Box 711, Montgomery, Alabama 36101.




 8QOHVVWKHFRXUWKDVH[SUHVVO\RUGHUHGRWKHUZLVHLIWKLVMXGJPHQWLPSRVHVLPSULVRQPHQWSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHVLVGXHGXULQJ
 LPSULVRQPHQW$OOFULPQDOP RQHWDU\SHQDOWLHVH[FHSW WKRVH SD\PHQWVP DGHWKURXJKWKH)HGHUDO%XUHDXRI3ULVRQV¶,QPDWH)LQDQF LDO
 5HVSRQVLELOLW\3URJUDPDUHPDGHWRWKHFOHUNRIWKHFRXUW

 7KHGHIHQGDQWVKDOOUHFHLYHFUHGLWIRUDOOSD\PHQWVSUHYLRXVO\PDGHWRZDUGDQ\FULPLQDOPRQHWDU\SHQDOWLHVLPSRVHG



 G -RLQWDQG6HYHUDO
      'HIHQGDQWDQG&R'HIHQGDQW1DPHVDQG&DVH1XPEHUV(including defendant number)7RWDO$PRXQW-RLQWDQG6HYHUDO$PRXQW
      DQGFRUUHVSRQGLQJSD\HHLIDSSURSULDWH




 G 7KHGHIHQGDQWVKDOOSD\WKHFRVWRISURVHFXWLRQ
 G 7KHGHIHQGDQWVKDOOSD\WKHIROORZLQJFRXUWFRVW V 
 ✔ 7KHGHIHQGDQWVKDOOIRUIHLWWKHGHIHQGDQW¶VLQWHUHVWLQWKHIROORZLQJSURSHUW\WRWKH8QLWHG6WDWHV
 G
       $1,265.00 in U.S. currency seized March 21, 2013 from William Elliott



 3D\PHQWVVKDOOEHDSSOLHGLQWKHIROORZLQJRUGHU  DVVHVVPHQW  UHVWLWXWLRQSULQFLSDO  UHVWLWXWLRQLQWHUHVW  ILQHSULQFLSDO
   ILQHLQWHUHVW  FRPPXQLW\UHVWLWXWLRQ  SHQDOWLHVDQG  FRVWVLQFOXGLQJFRVWRISURVHFXWLRQDQGFRXUWFRVWV
